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 6

 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          )       2:23-cr-00123-JDP
                                                        )
12                       Plaintiff,                     )       [Proposed] ORDER TO DISMISS AND
                                                        )       VACATE STATUS CONFERENCE
13           v.                                         )
                                                        )
14   RYAN LEE WELCH,                                    )       DATE: December 18, 2023
                                                        )       TIME: 2:00 p.m.
15                                                      )       JUDGE: Hon. Jeremy D. Peterson
                         Defendant.                     )
16                                                      )
                                                        )
17

18          It is hereby ordered that the plaintiff United States of America’s Motion to Dismiss Case

19   Number 2:23-cr-00123-JDP without prejudice is GRANTED.

20          It is further ordered that the status conference scheduled on December 18, 2023, is vacated.

21          IT IS SO ORDERED.

22

23   Dated: December 15, 2023
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                                                                                          ___
24                                               HON.  JEREMY
                                                 HON. JEREM  MY D.D PETERSON
                                                                     PEETERSO  SOON
                                                 United States Ma
                                                               Magistrate
                                                               M  gistrate Judge
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     ORDER TO DISMISS AND VACATE S/C                        1                           U.S. v. RYAN LEE WELCH
